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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ERICA PARKER                                :
                                            :
                      Plaintiff,            :       NO.    2:17-cv-01744
                                            :
       v.                                   :
                                            :
SCHOOL DISTRICT OF                          :
PHILADELPHIA, ET AL.                        :       JURY TRIAL DEMANDED
                                            :
                      Defendants.           :


                                       STIPULATION

       AND NOW, this ___________ day of _____________, 2018, it is hereby

STIPULATED and AGREED, by and between Plaintiff, Erica Parker and Defendant, Jamal B.

Dennis, by and through their undersigned counsel, that Plaintiff’s Deadline to Respond to

Defendant, Jamal B. Dennis’ Motion to Dismiss is extended until September 20, 2018.


WEISBERG LAW                                        SCHOOL DIST. OF PHILADELPHIA


/s/ Matthew B. Weisberg                              /s/ Colin S. Haviland
Matthew B. Weisberg, Esquire                        Colin S. Haviland, Esquire
L. Anthony DiJiacomo, III, Esquire                  Attorney for Defendants, Jamal B. Dennis
Attorneys for Plaintiff                             and School District of Philadelphia


                                                    AND IT IS SO ORDERED.



                                                    ________________________________
                                                                                  ,J.
